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1                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
2
     * * * * * * * * * * * * * * *
3    PEDRO LOPEZ, et al          *
              Plaintiffs,        *
4                                *
                 vs.             *             CIVIL ACTION
5                                *             No. 07-11693-JLT
     CITY OF LAWRENCE,           *
6    MASSACHUSETTS, et al        *
             Defendants.         *
7    * * * * * * * * * * * * * * *

8                  BEFORE THE HONORABLE JOSEPH L. TAURO
                       UNITED STATES DISTRICT JUDGE
9                       CASE MANAGEMENT CONFERENCE

10   A P P E A R A N C E S

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19

20
                                             Courtroom No. 22
21                                           John J. Moakley Courthouse
                                             1 Courthouse Way
22                                           Boston, Massachusetts 02210
                                             August 12, 2008
23                                           2:35 p.m.

24

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1    APPEARANCES, CONTINUED

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1    APPEARANCES, CONTINUED

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1                             P R O C E E D I N G S

2               THE CLERK:     Civil action No. 07-11693, Pedro Lopez,

3     et al versus the Commonwealth of Massachusetts, et al.

4               Counsel please come forward and identify themselves

5     for the record.

6               THE COURT:     Good afternoon, everybody.        We have got

7     the whole Bar here.

8               (Laughter.)

9               THE CLERK:     Please identify yourselves for the

10    record.

11              MR. LICHTEN:     For the plaintiffs Harold Lichten.

12              MS. LISS-RIORDAN:      Shannon Liss-Riordan.

13              MS. FERRERA:     Vinita Ferrera, Your Honor.

14              MR. GLEASON:     Jeff Gleason, Your Honor.

15              MR. HALL:     Rahsaan Hall, Your Honor.

16              MR. QUINAN:     Your Honor, I'm Assistant Attorney

17    General Rob Quinan for the state defendants.             And with me is

18    Assistant Attorney General Iraida Alvarez.

19              MR. MORRIS:     Robert Morris for the defendant City

20    of Boston.

21              MR. LEAHEY:     Brian Leahey for the defendant City of

22    Lowell.

23              MR. McQUILLAN:     Peter McQuillan for the defendant

24    City of Methuen.

25              MR. BOWERS:     James Bowers for the defendant City of
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1     Lawrence.

2               MS. ENGDAHL:    Laurie Engdahl for the defendant City

3     of Worcester.

4               THE COURT:    Okay.   Sit down, everybody.

5               Thank you for coming in.      The first thing I am

6     going to take up with you, not that it is even a matter of

7     priority or order, is I want you to know that we are going

8     to continue with this case even though the plaintiffs have

9     taken an interlocutory appeal of my denial of class

10    certification.    I don't think that that interlocutory appeal

11    should in any way slow down the handling of the case so we

12    are going to go forward.

13              And then there is the, the next thing I want to

14    take up is the motion of the Massachusetts Association of

15    Minority Law Enforcement Officers' motion to intervene as

16    plaintiffs.    I don't know what the reaction of the parties

17    may be to that motion.

18              My inclination is to deny the motion but with the

19    understanding that I would give that Massachusetts

20    Association of Minority Law Enforcement Officers an

21    opportunity to file an amicus brief which would be helpful

22    to me anyway.

23              And so that is the way I think that is going to go.

24    Now, does anybody want to speak to that?         Anybody feel

25    strongly one way or the other about that issue?
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1               MS. FERRERA:    Your Honor, Vinita Ferrera from

2     Wilmer Cutler Pickering Hale and Dorr.

3               We have been retained by MAMLEO and by the New

4     England Chapter of the NAACP to represent them in this case.

5     And we obviously filed a motion to intervene on their

6     behalf.

7               Your Honor, our position certainly is that both of

8     those parties ought to be in the case for both the liability

9     and the damages phases of the case.        In particular we

10    understand that with respect to some of the issues that were

11    raised in terms of the adequacy of representation of the

12    other plaintiffs for the various tests that are involved and

13    the different plaintiffs and different jurisdictions, we

14    think that those are exactly the interests that MAMLEO and

15    the NAACP are capable of representing and ought to represent

16    in this case.

17              So we believe that it is appropriate for them to

18    be --

19              THE COURT:    Who is supposed to represent them now?

20              MS. FERRERA:    Well, Your Honor, I understand --

21              THE COURT:    Where is the failure?

22              MS. FERRERA:    Your Honor, I understand that one of

23    the issues that was raised by the defendants in the class

24    certification motions or in opposition to the class

25    certification motion was the fact that because the
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1     individual plaintiffs are not from all municipalities in

2     Boston and because some of them may have taken one test and

3     not another test, that there was some question as to whether

4     or not they were able to adequately represent all of the

5     individuals affected by this test.

6               THE COURT:    Whether they had standing to?

7               MS. FERRERA:    Not necessary -- the standing issue

8     was raised, Your Honor.     Obviously we believe that there is

9     standing but that the whole purpose of MAMLEO in particular

10    and the NAACP is to represent the interests of those

11    communities as a whole.

12              So we think we can bring something to the table

13    both with respect to the liability issues as well as the

14    remedy issues which I know Your Honor has bifurcated.

15              THE COURT:    Well, I know that you would represent

16    the parties, the putative parties very professionally; but I

17    am going to stick with it.      I am going to deny the motion to

18    add you, add your client as parties.         But I will permit the

19    filing of an amicus brief, and maybe even more than one.

20              In other words, one might be on liability.            The

21    other might be on remedy.      And I can assure you that those

22    briefs will be read with great care by me.           And I am sure

23    they will be very helpful.      Okay.    I just want to keep

24    things as simple as possible.

25              MS. FERRERA:    Thank you, Your Honor.
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1               THE COURT:    Thank you.

2               Then we have, I want to get a little report card on

3     the discovery that I have already authorized.           Now, we have

4     had -- I authorized extensive data production which my

5     memory, if my memory serves me correctly, every time you

6     come in everybody tells me everybody is getting along great

7     and the production is being made in a satisfactory manner

8     and satisfactory speed.

9               Is that still so or did I mishear the last time we

10    were here?

11              MR. LICHTEN:    Yes, it's been provided.        There have

12    been delays but these are not delays for which I'm casting

13    any aspersions.    We now have most of the data.         There are

14    small other data sets that I have been emailing the Attorney

15    General's Office and they have been forthcoming.            So I have

16    no issue there.

17              So our expert has now been crunching the numbers.

18    He's been crunching the numbers now for about a month.             He

19    has some preliminary findings and is in the process of

20    having more findings.     That's on the issue of disparate

21    impact on the various exams in question.

22              THE COURT:    Now, you are turning this over to your

23    expert?

24              MR. LICHTEN:    Yes.

25              THE COURT:    This material.
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1               And I take it as part of the plan you are going to

2     turn the expert's report over --

3               MR. LICHTEN:    Absolutely.

4               THE COURT:    -- to the defendants so that you can

5     then all be talking about the same case.

6               MR. LICHTEN:    Exactly.

7               And one of the things that I was going to propose

8     today that we could accomplish is a cut-off date for our

9     providing our expert report and their providing their expert

10    report.   We have actually agreed on proposed timelines for

11    that.

12              THE COURT:    Okay.   Tell me what they are.

13              MR. LICHTEN:    We have proposed that we will

14    hopefully submit, we will submit our proposed expert reports

15    by September 30th and they would supply their counter expert

16    reports by November 30th.

17              THE COURT:    Anybody have any comment about that?

18              MR. QUINAN:    Yes, Your Honor.

19              THE COURT:    Go ahead.

20              MR. QUINAN:    On behalf of the state defendants,

21    this Court has bifurcated this case into a liability stage

22    and a remedial stage I think quite appropriately.            There are

23    a number of important legal questions pending before the

24    Court as stated in the state defendant's and I believe the

25    other defendants' affirmative defenses that need to be taken
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1     up by the Court.

2               One of them, for example, is the issue of standing

3     with respect to some or all of these plaintiffs.              Another

4     has to do with the statute of limitations.              There is a very

5     tight statute of limitations under Title VII.              We maintain

6     that these plaintiffs or most of them at least do not

7     satisfy the statute of limitations.

8               There is also the issue of whether my client the

9     Commonwealth can be held liable under Title VII because the

10    Human Resources Division of the Commonwealth is not the

11    employer of any of these plaintiffs.         And that ties in to a

12    sovereign immunity or Eleventh Amendment argument as well.

13              We believe that these are dispositive issues.

14              THE COURT:     Potentially they are.

15              MR. QUINAN:     Potentially dispositive issues.            And

16    that plaintiffs' counsel has indicated that discovery can be

17    wrapped up, at least the plaintiffs' discovery by the end of

18    September.    They will issue their expert report at the end

19    of September.

20              I think that's an appropriate time at which then

21    the Commonwealth would file its motion for summary judgment

22    in this case within some reasonable period of time after

23    September 30th.     The Court should consider whether that is

24    going to dispose of all claims against at least the state

25    defendants, perhaps all defendants and only at that juncture
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1     does it make sense for taxpayer dollars to be expended on a

2     very expensive expert to counter their expert on an issue

3     that may be totally immaterial.        I mean, it may not --

4               THE COURT:     Well, what you are saying is very

5     attractive and it makes some sense; but it overlooks the

6     distinct possibility that he is going to file an expert

7     report that your expert would agree with.          I mean, in other

8     words, you may not be as far apart on the merits as you

9     think you are.    And we might be able to approach it from a,

10    come up with some solution that is very practical that

11    avoids the expense.

12              You know, you are talking about expense.            I mean,

13    it can be very expensive to litigate some of these points

14    that you raise which are interesting and far from frivolous

15    and make a good, you know, it is a good suggestion that they

16    are going to have to be dealt with sometime.

17              But I think it would be better to sort of clear it

18    out first and see if your expert says what they say.             And

19    maybe we would move a little closer to trying to settle this

20    case.

21              MR. QUINAN:     I would be very happy to reengage on

22    settlement matters with the plaintiffs after their expert

23    report has been filed.

24              THE COURT:     And you file yours so that --

25              MR. QUINAN:     Well, that's where we get into what
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1     could easily be a hundred thousand dollar expense for the

2     Commonwealth.

3               THE COURT:     It will cost you at least that to do

4     all the motions that you are talking about.

5               MR. QUINAN:     No, Your Honor, we --

6               THE COURT:     You don't think so?

7               MR. QUINAN:     We don't pay anything.        Unfortunately

8     we are all salary and --

9               (Laughter.)

10              MR. QUINAN:     -- there is no expense at all.

11              THE COURT:     You get paid like judges.

12              MR. QUINAN:     Yes.

13              (Laughter.)

14              MR. QUINAN:     So, you know, there are no taxpayer

15    dollars beyond my usual pitiful salary.          And so we would

16    ask --

17              THE COURT:     Let's hear what plaintiffs say about

18    this.

19              MR. LICHTEN:     They obviously have the right to have

20    legal issues heard.     The question is when they should have

21    that right.

22              There is nothing to prevent them from filing

23    motions to dismiss at any time while we proceed with

24    discovery.

25              What I think is extremely inequitable is the idea
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1     that it is okay for us to expend hundreds of thousands of

2     dollars providing that expert information, give it to them

3     and then they say, oh, well, they need all these dispositive

4     motions so that the case should be put on hold for many

5     months while we now have your expert reports.              We have

6     unlimited time to prepare for that while we make the

7     dispositive motions.

8               I think the Court's suggestion is more appropriate.

9     That is, both sides should exchange their expert witness

10    reports to see how far we are off or not off.              And then at

11    that time -- now, I believe that because it is going to be a

12    bench trial, Your Honor, because a lot of these issues --

13              THE COURT:     Let's make sure we all agree on that.

14              MR. LICHTEN:     Yes.

15              THE COURT:     I think somebody filed for a jury.            I

16    don't see how it is going to be a jury trial --

17              MR. LICHTEN:     I don't see that.

18              THE COURT:     Well, I have to deal with it.           I mean,

19    there has been a jury demand.          I may have to deal with the

20    motion to strike that.

21              Does everybody agree that it is a bench trial?

22              MR. LEAHEY:     Judge, Brian Leahey on behalf of the

23    City.   I may have filed a motion for a jury trial because

24    that's the standard.      I would go back and check.

25              It does sound like these are questions of applying
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1     the facts that may or may not be agreed to and applying the

2     law to it.    I will check on that to see if I may have been

3     the one who filed that.      And I will check into that.

4               THE COURT:     Well, I mean, I am not angry, I am not

5     going to get angry at anybody who wants a jury rather than a

6     bench trial.    That is not the purpose of my question.

7               I just want to make sure that everybody understands

8     what it is going to be and we have an agreement as to that.

9               MR. LEAHEY:     I am aware of your position on that,

10    Judge.

11              THE COURT:     Well, what is your position?

12              MR. LEAHEY:     I have my own thoughts.        I need to

13    confer with my client just to make sure.          I don't foresee a

14    problem with a bench trial but I still need to get approval

15    from my client.

16              THE COURT:     Okay.   That is reasonable.

17              MR. QUINAN:     I would say pretty much the same

18    thing, Your Honor.      We did put a jury demand in our answer.

19              THE COURT:     Sometimes you do that as a matter of

20    course, I understand.

21              MR. QUINAN:     Well, I think this is a matter that I

22    would want the Governor's Chief Legal Counsel to weigh in

23    on --

24              THE COURT:     Okay.

25              MR. QUINAN:     -- before we waive the jury.         And just
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1     to get back for a moment to this issue of the expert

2     reports --

3               THE COURT:      Well, let's just stay with that.           I do

4     better if I just tack things down as we go along.

5               Is it too much to ask that you give me an answer as

6     to what kind of trial we are going to have within two weeks?

7               MR. QUINAN:      That's fine, Your Honor.

8               THE COURT:      Is that a reasonable amount of time?

9               MR. LEAHEY:      Certainly, Your Honor.

10              THE COURT:      All right.    So on or before whatever

11    two weeks from now is.

12              THE CLERK:      August 26th.

13              THE COURT:      On or before August 26th, just give me

14    a filing that everybody considers that the case may be tried

15    as a bench trial.       Then that will be behind us.

16              MR. LICHTEN:      What I was saying, Your Honor, was

17    given that it is likely to be a bench trial, and given that

18    a number of the issues they want to raise are nevertheless

19    tied up in the facts of this case, and given that even if

20    they're successful in some of their arguments, let's say the

21    statute of limitations which only gets them out of one year

22    of the exam, not the other two years of the exam, or

23    standing which only gets them out of some cities but not a

24    lot of other large cities for which we have filed, there is

25    going to be -- at the end of the day there is going to be a
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1     trial anyway.

2               So I think it would be the better, prudent approach

3     and more efficient to have that bench trial which may last a

4     couple of days and then for them to raise all their issues

5     and for those procedural issues such as when the plaintiffs

6     knew of their rights, et cetera, to be part of that trial.

7     And then for the Court to address the legal issues as part

8     of the trial decision, which is very common in bench trials.

9               And then if it gets to the center of the case, the

10    merits, which I think it will, then go on to address the

11    merits.

12              If it throws the case out, it throws the case out.

13    Rather than having all of this briefing and affidavits on

14    the issue of these procedural issues, which isn't going to

15    extinguish the case altogether anyway, and then have another

16    whole set of proceedings to go to trial.

17              I think this is the kind of case that could be done

18    more efficiently as one bench trial with all the issues

19    raised.

20              MR. QUINAN:     Your Honor, obviously I strongly

21    disagree with my brother counsel here.

22              At least one of the issues we intend to raise at

23    the first earliest opportunity on summary judgment is

24    dispositive, would be dispositive of all claims against the

25    state defendants.
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1               Title VII only proscribes discrimination by

2     employers.    HRD is not the employer of any of these

3     plaintiffs.    I understand there is a legal argument to be

4     made here.    It is a somewhat complicated argument but

5     nevertheless that's our position, that we should be out of

6     this case altogether.

7               Therefore, I am familiar with the work that their

8     expert is doing in general terms.        My position is it's

9     entirely irrelevant.      Legally irrelevant.      Therefore, for

10    the taxpayers to be asked to expend one hundred thousand

11    dollars or more to respond to a report by an expert on a

12    matter that is not legally relevant isn't going to lead to

13    liability against the Commonwealth in this case is

14    irresponsible.    And, therefore, I believe that it should be

15    taken in stages as the Court has.

16              The next stage of the case is to wrap up discovery,

17    have plaintiffs issue whatever expert report they wish, or

18    not.   We can wrap up discovery and then we will do summary

19    judgment.    And plaintiffs can wait to file their expert

20    report until after summary judgment is decided.

21              THE COURT:     All right.    Go ahead.        You want to say

22    one more thing?

23              MR. LICHTEN:     Even if HRD was correct overruling

24    the NAACP case in 1972 and Judge Saris's case in which they

25    were held to be a defendant under Title VII, but even if
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1     that were the case, the case will still go to trial with

2     their test being at issue, they being, leaving the cities to

3     fend for themselves.      So there is still going to be a trial

4     either way in which they're going to be actively involved.

5               THE COURT:     We are going to do it the way I

6     suggested originally.      We will take the two days that were

7     mentioned, what is it, September?

8               MR. LICHTEN:     September 30th and November 30th.

9               THE COURT:     September 30th for the plaintiffs'

10    expert report to be filed and the defendants will file

11    theirs by, what did I say?

12              THE CLERK:     November 30th.

13              THE COURT:     November 30th, okay.

14              And, of course, you are free to file whatever

15    motions you want to file in the interim.          In other words, if

16    you want to file a motion for summary judgment, you can do

17    that along the way.     But you will still have to meet this

18    discovery schedule that we are talking about.

19              Then I will bring you back here.         What about the

20    depositions that we have authorized in this case?             How many

21    depositions did I authorize?

22              MR. LICHTEN:     I think the Court --

23              THE COURT:     I certainly didn't authorize

24    any additional discovery.      I didn't authorize any

25    interrogatories or production of documents or anything like
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1     that.

2                MR. LICHTEN:     You did authorize certain information

3     we have to respond to, which we are.          They responded to most

4     of the documents that you ordered that they respond to.

5                The only thing left to be done is we have taken one

6     deposition.    I think we have two others that you have

7     authorized.    Those will be taken within the month.

8                They may want to take the depositions of the

9     plaintiffs and their supervisors.         We have not objected to

10    that, although they haven't scheduled those yet.             I'm sure

11    we'll --

12               THE COURT:     Do you want to take those depositions?

13               MR. QUINAN:     Your Honor, I would ask that --

14               MR. LICHTEN:     I don't want to cost them all that

15    money if he's working --

16               (Laughter.)

17               MR. QUINAN:     Your Honor, I would ask that the Court

18    order that all discovery called for in the Court's order of

19    May 20th with the exception of depositions of the plaintiffs

20    and their supervisors be completed by September 30th.

21               We, as of today we have not received any discovery

22    from the plaintiffs.       We also have requests out to the

23    municipal defendants which were part of the Court's order of

24    May 20th.

25               We're awaiting material.       And just to keep the case
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1     moving along, I would ask that all of that material be

2     provided by September 30th and the discovery be done and

3     completed --

4               THE COURT:     Let me just check.      Where is the

5     May 20th order?

6               (Whereupon, the Court and the Law Clerk conferred.)

7               MR. LICHTEN:     We accept that, Your Honor.         We

8     accept his proposal.

9               THE COURT:     Okay.   But I just want to make sure

10    that I understand what you are doing.

11              (Pause in proceedings.)

12              THE COURT:     Okay.   What I did was accept the joint

13    proposed order with respect to document discovery which is

14    where you are proceeding now and we are on the track then.

15    We have the two dates for compliance and the expert

16    affidavit exchange.     We have already done that.

17              Then I did say that the defendants may depose the

18    named plaintiffs and the named plaintiffs' direct

19    supervisors.    Has that been done?

20              MR. QUINAN:     No, Your Honor, because we haven't

21    received any discovery from the plaintiffs.

22              THE COURT:     Okay.   All right.    But you still intend

23    to do that?    That is something that you intend to do when

24    you get enough paperwork to enable you to prepare proper for

25    a deposition?
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1               MR. QUINAN:     That's right, Your Honor.

2               THE COURT:     Okay.   And the defendant is going to

3     make available Sally McNeeley, second day of deposition, a

4     Guy Paris and a Vivian Lee.

5               MR. QUINAN:     And that I think could be done before

6     September 30th.

7               THE COURT:     Okay.   Now, do you plan on deposing,

8     doing your depositions, the defendants' depositions of the

9     plaintiffs by September 30th too?        Is that what you are

10    about?

11              MR. QUINAN:     Well, again, we haven't received

12    anything in the way of discovery so --

13              THE COURT:     Well, let me ask it a more direct way.

14              How long will it take you to do the depositions

15    that you intend to do?      This is now August.         Are you talking

16    about a week, an hour, five months?

17              MR. QUINAN:     Well, I believe that there are

18    something like ten named plaintiffs.         The issue here, they

19    allege in their complaint that they are as qualified as the

20    individuals who actually received promotions.             We need to

21    test that assertion.

22              THE COURT:     Just tell me how much time you need.

23              MR. QUINAN:     I think it's unfortunately ten

24    separate depositions.      And it might be two hours apiece.

25              And I'm not sure that it makes sense to expend that
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1     time and effort of all concerned if we are going to be

2     raising dispositive legal arguments --

3                THE COURT:     You can't do this, you know, you want

4     to do this efficiently but you can't do it totally on the

5     cheek.    So I am trying to find out from you who has to do

6     the work what is a reasonable expectation, this being

7     August.   Will it take you thirty days to do these twenty

8     depositions?    Will it take you sixty days?

9                MR. QUINAN:     I would say sixty days, Your Honor.

10               THE COURT:     All right.    So we are talking about --

11    how about if we make it ninety days?          How about if we say

12    that you are going to get material from the defendants --

13    from the plaintiffs, what did I say?

14               MR. QUINAN:     By the end of August.

15               THE COURT:     No.

16               MR. LEAHEY:     You said September 30th.

17               THE COURT:     September 30th I'm thinking.

18               MR. QUINAN:     Well, I think they've indicated that

19    they could produce the written discovery by the end of

20    August.   They've told me that privately.

21               THE COURT:     You're talking about in addition to the

22    expert report?

23               MR. QUINAN:     The expert -- well, written discovery

24    by the end of August.       Expert report by the end of

25    September.
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1               THE COURT:     Okay.

2               MR. QUINAN:     We will complete our depositions.          We

3     will file an expert report by the end of November.             We will

4     move for summary judgment at the appropriate time in the

5     next three months.

6               THE COURT:     So you will be able to get your

7     depositions done by the last working day in November?

8               MR. QUINAN:     Yes.

9               THE COURT:     Okay.   So we will adopt those as the

10    dates.

11              And then there will be no other discovery without

12    permission of the Court.      Everybody understands that.

13              MR. LEAHEY:     Your Honor, if I may, Brian Leahey on

14    behalf of the City of Lowell, if I may address that point.

15              The original May 20th order was between the state

16    defendants and the plaintiffs and that the municipal City of

17    Lowell wasn't part of that order.

18              It's the City of Lowell's position, as the other

19    municipalities, that we're kind of collateral in this issue.

20    The City of Lowell would at least like to take, propound

21    interrogatories and production of documents to go to the two

22    Lowell plaintiffs and possibly the state.

23              I can't imagine that we would need any other

24    documents other than other what the state has provided and

25    the plaintiff but at least the City would like that
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1     opportunity just to send interrogatories to both the two

2     Lowell plaintiffs and the state defendants.

3               THE COURT:     I will let you take their deposition.

4     I am not going to permit any interrogatories.            My

5     experience -- not in this stage anyway.          My experience is

6     that interrogatories only lead to motions for further

7     answers and vague answers.       Every time that I succumb and

8     permit interrogatories I always regret it and I promised

9     myself I will never do it again.

10              So unfortunately for you I must have done it

11    recently because we are not going to have interrogatories.

12    But if you want to depose somebody, tell me who you want to

13    depose.

14              MR. LEAHEY:     It would be the two Lowell plaintiffs

15    Alvarez and Nobrega.

16              THE COURT:     Okay.   So you can take their

17    depositions.    How much time do you need to take them?

18              MR. LEAHEY:     I would think --

19              THE COURT:     Do you want to be on the same schedule

20    with everybody else?

21              MR. LEAHEY:     Certainly, yes.     I mean, I'm assuming

22    once they get noticed by the State, I mean, I can ask my

23    questions at the same time.      If they're noticed, I would

24    think, you know --

25              THE COURT:     You ought to be able to do that.
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1               MR. LICHTEN:     That is what I was going to suggest.

2     That they should be deposed at the same time by the State

3     and the City of Lowell.

4               THE COURT:     Yes.   I think it would be very

5     productive to put it together that way.

6               MR. LEAHEY:     Right.

7               MR. McQUILLAN:     I would ask, Your Honor, Peter

8     McQuillan on behalf of the City of Methuen, that that 90-day

9     time frame would also apply to the remaining municipal

10    defendants and their respective --

11              THE COURT:     All right.    Our order will state that

12    everybody is to be bound by the same order, the same

13    timetable.

14              MR. McQUILLAN:     Thank you, Your Honor.

15              THE COURT:     Anything else that we should take up

16    here now?

17              MR. LICHTEN:     Just one other thing, Your Honor.

18              You mentioned the interlocutory appeal that the

19    plaintiffs have taken.      And I am wondering in light of this

20    revised schedule and the dispositive motions which the

21    defendants may be filing, whether the Court would entertain

22    simply issuing an order tolling the statute of limitations

23    for the potentially affected class members while this is

24    going on so as to avoid this issue of their losing their

25    claims simply by reason of the lapse of time.
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1               THE COURT:     I don't see how -- how could they lose

2     anything?    Their case has already been filed.

3               MR. LICHTEN:     Well, because the Court denied class

4     certification.

5               THE COURT:     Oh, yes, okay.    What do you say about

6     that?

7               MR. QUINAN:     Well, absolutely there are no grounds

8     for such an order, Your Honor.

9               THE COURT:     I don't know of any, which doesn't mean

10    that there aren't any.      There are a lot of things I don't

11    know.

12              MR. QUINAN:     The statute of limitations has expired

13    with respect to everyone except the named plaintiffs who

14    filed this action, some of them who filed an action --

15              THE COURT:     When I made my decision, they had an

16    opportunity to try to beat the deadline.          Whether some did

17    or some didn't, I don't know.

18              But, anyway, the answer is I am not going to do

19    anything unless you want to file a motion.              And then I will

20    deal with the motion so there will be a record of what you

21    asked for and what I did.      And there will be a clear

22    appellate opportunity.

23              MR. LICHTEN:     I understand that.

24              And the final thing, Your Honor, is with respect to

25    the motion to intervene.      It's my understanding that the
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1     firm Wilmer Cutler has also filed a notice of appearance on

2     behalf of some of the plaintiffs so I believe they will

3     nevertheless still be part of the case regardless.

4               And finally on that issue --

5               THE COURT:     We will benefit from her wisdom and we

6     will look forward to it.

7               MR. LICHTEN:     Would it be possible before the Court

8     denies their motion to intervene, given that the NAACP has

9     historically been part of all of this litigation for the

10    last thirty years and has great expertise in it, as does

11    MAMLEO, whether the Court would allow briefing on the issue

12    before it issues a final order deciding that they're not

13    allowed to intervene, given this long history of their

14    intervention in this type of Title VII litigation in

15    Massachusetts?

16              THE COURT:     Well, I am looking forward to having

17    their amicus briefs.      I don't see how making them a

18    plaintiff adds to their value as a source of information.

19              MR. LICHTEN:     Well, for example, just very briefly.

20    They're going to make a dispositive motion on the issue of

21    standing.    The courts have made clear that there is an

22    organizational standing that is given to organizations like

23    MAMLEO and the NAACP that may well be the anecdote to that

24    claim if it had any merit.      I don't suggest it does.

25              So it does have substance.       It's not just them
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1     being part of the case.

2               THE COURT:       Well, I think we have plenty of issues

3     right now so I am going to leave it the way that it is.

4               MR. LICHTEN:       Thank you, Your Honor.

5               THE COURT:       Anything else that you want to take up

6     before we just establish a date to come back?

7               (Whereupon, the Court and the Clerk conferred.)

8               THE COURT:       You are going to be through your

9     assignments the end of November.           Rather than try to figure

10    out what to do during the holiday season, why don't I bring

11    you back here for a further conference in January, the first

12    part of January.        And we will see what else needs to be

13    done, either in terms of having a hearing on dispositive

14    motions or starting a trial or seeing if you can settle the

15    case.

16              MR. LICHTEN:       Thank you, Your Honor.

17              THE COURT:       Okay.   Is that good?

18              MR. LICHTEN:       Thank you.

19              THE COURT:       All right.    Thank you, everybody.

20              THE CLERK:       The date in January, January 8, 2009 at

21    12 o'clock.

22              THE COURT:       Is that okay with everybody?

23              MR. LEAHEY:       I'm sorry, what was the time?

24              THE CLERK:       Twelve o'clock.

25              MR. LICHTEN:       Thank you, Your Honor.
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1               THE COURT:      Okay.   Thanks, everybody.

2               COUNSEL:      Thank you, Your Honor.

3

4               (WHEREUPON, the proceedings were recessed at 3:05

5               p.m.)

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                         C E R T I F I C A T E




           I, Carol Lynn Scott, Official Court Reporter for

 the United States District Court for the District of

 Massachusetts, do hereby certify that the foregoing pages

 are a true and accurate transcription of my shorthand notes

 taken in the aforementioned matter to the best of my skill

 and ability.




                         /S/CAROL LYNN SCOTT



            _________________________________________

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